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Case 1:20-cv-10906-NMG Document5 Filed 05/13/20 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

LEONARDO FABIO LOPEZ,
Petitioner-Plaintiff,

v.

TODD LYONS, in his official capacity as
Acting Field Office Director, Boston Field
Office, U.S. Immigration & Customs
Enforcement; CHAD WOLF, in his official Civil Action No.
1:20-cv-10906-NMG
capacity as Acting Secretary, U.S.

Department of Homeland Security; WILLIAM
P. BARR, in his official capacity as Attorney
General, U.S. Department of Justice;
ANTONE MONIZ, in his official capacity as
Superintendent, Plymouth County Correctional
Facility; JOSEPH D. MCDONALD, JR., in his
official capacity as Sheriff, Plymouth County,
Respondents-Defendants

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MOTION TO RELATE CASES
NOW COMES Plaintiff, Leonardo Fabio Lopez, to move that his case be listed as related with
Augusto et al vy. Moniz (C.A. No. 1:20-cv-10685-ADB) and moved to Judge Burrough’s docket,

and as grounds therefore the Plaintiff states the following:

|. Plaintiff has filed a Writ of Habeas Corpus due to the COVID-19 pandemic.
2. Judge Burroughs is already presiding over a case based on similar facts regarding Habeas
Corpus petitions due to the COVID-19 pandemic. Augusto et al v. Moniz, C.A. No. 1:20-cv-

10685-ADB).

3. Plaintiff's case was intended to be linked to the aforementioned case and placed on Judge

Burroughs’s docket as related.

4. Due to attorney error in the electronic filing, these cases were not linked.

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5. Present counsel spoke with the Clerk on the morning of May 13, 2020, and it was
suggested this motion be filed as a means of correcting this error.

6. It is in the interest of judicial economy that these cases be heard together.

WHEREFORE, in light of the foregoing, Plaintiff respectfully requests that the above-
captioned case be linked with Augusto et al v. Moniz, C.A. No. 1:20-cv-10685-ADB, and that the

cases both be heard by Judge Burroughs.

Dated: May 13, 2020
Boston, MA

Respectfully submitted,

/S/__Todd C. Pomerleau
Todd C. Pomerleau, Esq., BBO #664974
Counsel for Plaintiff, Leonardo Lopez
Rubin Pomerleau, P.C.
One Center Plaza, Suite 400
Boston, MA 02108
617-367-0077 (voice)
617-367-0071 (facsimile)
E-mail: tep@rubinpom.com
